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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                           CRIMINAL NOS. 07-50097-01, 02 & 03

 VERSUS                                             JUDGE HICKS

 MICHAEL WALKER,                                    MAGISTRATE JUDGE HORNSBY
 VERNON CLAVILLE
 and LARRY N. WILLIAMS


                                  MEMO RANDUM ORDER

        Before the court are several motions filed by Defendants. For the reasons that follow,

 the motions are denied.

                              Motions to Sever (Docs. 31 and 34)

 Defendants’ Arguments

        Larry Williams and Vernon Claville have filed motions to sever seeking separate trials

 from each other and their co-defendant Michael Walker. Some of the arguments in the

 motions are common to Williams and Claville. For example, both argue that (1) the

 allegations of wrongdoing are not sufficiently related to justify a joint trial of all three

 Defendants; (2) out of twenty-four1 alleged acts of racketeering, the vast majority of the acts

 do not involve them; and (3) the spillover effect of the evidence against Michael Walker

 would prejudice their right to a fair trial.




        1
         Larry Williams argues that the indictment has 24 counts. That is not correct. The
 indictment contains only one count, but includes 24 alleged acts of racketeering.
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        The motions also assert arguments peculiar to each movant. Williams argues that

 Walker and Claville are icons in the Shreveport legal community and that Williams’ ability

 to defend himself and receive a fair trial will be overwhelmed by intense media and

 community attention. Williams further argues that a joint trial will prevent him from calling

 Walker and Claville as defense witnesses. According to Williams, if called to testify,

               Walker and Claville would testify that they have never had a
               conversation with Williams about anything, never less [sic]
               taking money from him. They would testify that they have
               never received any money from Williams in any capacity. They
               will testify that they have never met Williams. This testimony
               is crucial to Williams’ defense and if his trial is not severed
               from Walker and Claville, his ability to [sic] fair trial will be
               prejudiced.

 Finally, Williams complains in his motion that, while Walker and Claville filed speedy trial

 waivers, he did not.

        Claville argues that the indictment fails to allege that Walker and Claville’s activities

 were related. Claville notes that there are no allegations in the indictment that either judge

 knew of the other judge’s alleged participation, or any sharing of the alleged bribes.

 According to Claville, the indictment sets forth unrelated acts with no common agreement

 among the participants to commit the acts in furtherance of the enterprise.

 Law and Analysis

        Rule 8(b) provides:

        The indictment or information may charge 2 or more defendants if they are
        alleged to have participated in the same act or transaction or in the same series
        of acts or transactions, constituting an offense or offenses. The defendants may

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        be charged in one or more counts together or separately. All defendants need
        not be charged in each count.

 There is a preference in the federal system for joint trials of defendants who are indicted

 together. Zafiro v. U.S., 506 U.S. 534, 537 (1993). Joint trials play a vital role in the

 criminal justice system. Id. They promote efficiency and serve the interest of justice by

 avoiding the scandal and inequity of inconsistent verdicts. Id.

        Even when joinder is proper, Rule 14(a) allows a trial court to sever the trials of two

 or more defendants where the joinder “appears to prejudice a defendant or the Government.”

 United States v. McGrew, 165 Fed. A ppx. 308, 316 (5th Cir. 2006). The rule does not

 require severance, however, and upon a showing of prejudice, the determination of relief to

 be granted, if any, due to the existence of prejudice, is within the discretion of the district

 court. Id.; Zafiro, 506 U.S. at 538-539.

        Significantly, the Supreme Court has cautioned that the remedy of severance should

 be used sparingly. Zafiro supra. Where defendants have been properly joined under Rule

 8, a severance should not be ordered unless “there is a serious risk that a joint trial would

 compromise a specific trial right of one of the defendants, or prevent the jury from making

 a reliable judgment about guilt or innocence.” Id. Less drastic measures, including limiting

 instructions to the jury, often suffice to cure the risk of prejudice. Id.

        Movants’ arguments regarding the number of times they are referenced in the

 indictment and the amount and type of evidence against Michael Walker are not persuasive.

 The fact that there are numerous defendants or that one defendant is not charged in all counts

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 of the indictment is insufficient to show compelling prejudice. United States v. Morrow, 537

 F.2d 120, 137-138 (5th Cir. 1976). Similarly, a quantitative disparity in the evidence also is

 not enough to demonstrate prejudice. United States v. Merida, 765 F.2d 1205, 1219 (5th Cir.

 1985). Appropriate cautionary instructions 2 can decrease the possibility that the jury will

 improperly transfer proof of guilt from one defendant to another. United States v. Hogan,

 763 F.2d 697, 705 (5th Cir. 1985); United States v. Rodriguez, 926 F.2d 418, 421 (5th Cir.

 1991); United States v. Whittington, 2008 WL 659150 (5th Cir. 2008). These arguments do

 not justify a severance.

        Williams’ argument that a joint trial will prevent him from calling Walker and Claville

 as defense witnesses is also unpersuasive. Severance based on the testimony of a co-

 defendant is only warranted if a defendant can establish (1) a bona fide need for the co-

 defendant’s testimony; (2) the substance of the testimony; (3) the exculpatory nature and

 effect of the testimony; and (4) that the co-defendant would, in fact, testify. United States

 v. Neal, 27 F.3d 1035, 1047 (5 th Cir. 1994). Williams’ conclusory allegations in his brief fall




        2
          For example, Fifth Circuit Pattern Instruction 1.01 suggests the following
 language for multi-defendant cases: “The defendants are being tried together. But you
 will have to give separate consideration to the case against each defendant. Each is
 entitled to your separate consideration. Do not think of them as a group.” Similarly,
 Pattern Instruction 1.22 provides: “The case of each defendant and the evidence
 pertaining to that defendant should be considered separately and independently. The fact
 that you may find one of the defendants guilty or not guilty should not control your
 verdict as to any other defendant.”

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 far short of the required showing. For example, Williams has not articulated any factual

 basis to suggest that Walker and Claville would actually testify at Williams’ separate trial.

        Williams also argues without elaboration that, while his co-defendants waived their

 speedy trial, he did not. As shown above, the law presumes that individuals who are properly

 joined in an indictment should be tried together. The Speedy Trial Act does not alter that

 presumption. United States v. King, 483 F.3d 969, 974 (9 th Cir. 2007). The exclusion of

 time for one defendant applies to all co-defendants. 18 U.S.C. § 3161(h)(7). The delays in

 this case were absolutely necessary in the interests of justice, given the complexities of the

 case and the extensive discovery provided by the Government.

        More troubling are Movants’ arguments regarding the lack of allegations that the

 racketeering acts of Vernon Claville and Michael Walker were related. Claville and Walker

 served as judges on two different courts – Caddo Parish Juvenile Court and Caddo Parish

 District Court. Those courts are separated by both jurisdiction and physical location.

 Nothing in the indictment alleges that either judge knew what the other was doing or that

 either judge benefitted from the alleged bribes of the other.           Citing United States v.

 Sutherland, 656 F.2d 1181 (5 th Cir. 1981), Claville argues that the indictment sets forth

 unrelated acts with no common agreement among the participants to commit acts in

 furtherance of the enterprise.

        The undersigned finds that Sutherland is distinguishable from the facts alleged in the

 indictment in this case. In Sutherland, the Fifth Circuit questioned the propriety of joining



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 two distinct conspiracies in a single RICO conspiracy. In that case, a judge and one

 individual (Walker) were involved in a racketeering activity (fixing tickets) between 1975

 and 1977; the judge and another individual (Maynard) were involved in other racketeering

 activity (fixing other tickets) in 1979. The alleged enterprise was the city court. However,

 there was no evidence that either individual knew of the other’s agreement with the judge.

 Ultimately, the court found that the multiple conspiracy doctrine precluded the joint trial of

 the two conspiracies involved in that case on a single RICO conspiracy count, 656 F.2d at

 1194, but the violation did not require reversal of the convictions because the defendants’

 substantial rights were not affected by their joinder. 656 F.2d at 1197.

        In this case, Walker, Claville and Williams are charged in a single RICO count that

 alleges 24 acts of racketeering. The RICO enterprise is alleged to be the Judicial Branch of

 Louisiana government. Count 1(B). The indictment alleges that Defendants used the

 enterprise to enrich themselves by extracting bribes. Count 1(C). All of the acts of

 racketeering are alleged to have occurred between May 5 and July 19, 2007, a relatively close

 time frame.

        The undersigned finds it particularly significant that all of the Defendants are alleged

 to have engaged in Racketeering Acts 1 and 16. Act 1 involves the alleged bribery of Walker

 and Claville to obtain the release of a juvenile court hold (on May 5, 2007) and a reduction

 in the state court bond (on May 6, 2007) for an individual identified as “M.H.” Act 16

 involves the alleged bribery of Walker and Claville to obtain the release of a juvenile court



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 hold (on June 29, 2007) and a bond reduction (also on June 29, 2007) for an individual

 identified as “S.H.” Apparently, it was necessary for the juvenile court holds to be released

 on these individuals if they were to bond out of jail on the charges in district court; otherwise,

 the individual would not be released from custody (even if Walker reduced the district court

 bond) because of the existence of the juvenile court hold. Thus, the reduction of the bonds

 and the release of the holds on MH and SH shared a common aim or purpose – obtaining the

 release of those individuals from custody. With regard to both MH and SH, the alleged

 bribes were paid by Williams and CRS#1.

        Based on the foregoing, the undersigned concludes that Defendants’ joinder is proper

 under Rule 8(b). A joint trial will not prejudice any Defendant. Accordingly, the Motions

 to Sever are denied.

               Outstanding Discovery Motions (Docs. 30, 36, 42, 44 and 46)

        The Government has provided extensive discovery in this case, but these discovery

 motions – much of which contain boilerplate requests – remain pending. The motions are

 hereby denied as moot. Counsel may re-urge any request for particular information at the

 upcoming pretrial conference.

        THUS DONE AND SIGNED at Shreveport, Louisiana, this 28th day of March, 2008.




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